Case 6:22-cv-00918-GLS-TWD Document 39 Filed 01/30/23

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

Christopher A.Roberts, suijuris. = sSs*=<CS
Plaintiff,
Vv.
Oneida Sheriff Deputy R. Fleury
Oneida Sheriff Deputy M. Aldoori
Oneida County Sheriff Robert M. Maciol

Oneida County Executive Anthony J. Picente Jr.

Sauquoit Valley Central School District
Superintendent Ronald Wheelock

Oneida County Director of Health Daniel W. Gilmore
Oneida County District Attorney Scott D. McNamara

Sauquoit Valley Central School District
Board of Education member Jim Dever

Sauquoit Valley Central School District
Board of Education member Ron Critelli

Sauquoit Valley Central School District
Board of Education member Dawn Miller

Sauquoit Valley Central School District
Board of Education member Anthony Nicotera

Sauquoit Valley Central School District
Board of Education member Todd Nelson

Oneida County
Oneida County Sheriff Department
Sauquoit Valley Central School District

Defendants.

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REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS?
FRCP RULE 12(8)(1)-(6) MOTION TO DISMISS

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Oneida Sheriff Deputy M. Aldoori,

Oneida County Sheriff Robert M. Maciol,

Oneida County Executive Anthony J. Picente, Jr.
Oneida County Director of Health Daniel W. Gilmore,
Oneida County District Attorney Scott D. McNamara,
Oneida County & Oneida County Sheriff Department
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PRELIMINARY STATEMENT

Defendants, ONEIDA SHERIFF DEPUTY R. FLEURY, ONEIDA SHERIFF DEPUTY
M. ALDOORI, ONEIDA COUNTY SHERIFF ROBERT M. MACIOL, ONEIDA COUNTY
EXECUTIVE ANTHONY J. PICENTE JR., ONEIDA COUNTY DIRECTOR OF HEALTH
DANIEL W. GILMORE, ONEIDA COUNTY DISTRICT ATTORNEY SCOTT D.
MCNAMARA, ONEIDA COUNTY (“the County”), and the ONEIDA COUNTY SHERIFF
DEPARTMENT (collectively “the County defendants”), by and through their attorneys, Kenney
Shelton Liptak Nowak LLP, respectfully submit this reply memorandum of law in further support
of their motion, pursuant to Federal Rules of Civil Procedure Rules 12(b)(1)-(6), to dismiss the
complaint filed against them by pro se plaintiff, CHRISTOPHER A. ROBERTS, sui juris
(“Plaintiff”), for failure to state a cause action (regarding the federal claims) and for lack of
supplemental jurisdiction (regarding the state law claims) based on failure to comply with
conditions precedent to commencing a lawsuit pursuant to General Municipal Law §§50-c-i-h.

ARGUMENT
POINT I

PLAINTIFF HAS EXPRESSLY CONCEDED CERTAIN
CLAIMS AND CAUSES OF ACTION.

Plaintiff in opposition has conceded the following claims and causes of action:

e Official capacity claims against defendant-employees of the
County;

e Claims against administrative arms of the County;

e The conspiracy claim under §1985;

e The Equal Protection claim;

e The standalone §1983 claim;

e Punitive damages against the County defendants in their official
capacity;

e The declaratory judgment for injunctive relief;

e Grand jury empanelment;

e The common law conspiracy claim;

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e The HED claim;
e The omission or non-disclosure claim.

Dkt. #37 at POINT 6. Accordingly, Your Honor should dismiss these claims.
POINT II
PLAINTIFF’S ARGUMENTS PERTAINING TO FRCP RULE
12(B)(2), (3), (4), AND (5) ARE INAPPLICABLE AS THE
COUNTY DEFENDANTS NEVER MOVED FOR DISMISSAL
ON THOSE GROUNDS.

The County defendants filed the instant motion to dismiss pursuant to FRCP Rules 12(b)(1)
and 12(b)(6), referencing it throughout their original motion papers by the universally accepted
shorthand of “FRCP Rule 12(b)(1)-(6).” See dkt. #28-1. Although it is understandable that a
layperson may logically interpret “(1)-(6)” to include 2, 3, 4, and 5, we, as legal practitioners, have
consistently used it to simply stand for FRCP Rule (1) and/or (6). See e.g., Nat'l Ass'n of Bds. of
Pharmacy v. Bd. of Regents, 633 F.3d 1297, 1308 n.22 (11th Cir. 2011). Thus, to clarify for
Plaintiff, the County defendants motion is limited to those two subsections of FRCP Rule 12. Cf
dkt. #37 at POINT 2, POINT 4. Accordingly, any further discussion of subsections (2), (3), (4),
and (5) is unnecessary.

POINT II

THE COUNTY DEFENDANTS WERE NOT REQUIRED TO
SUBMIT AN AFFIDAVIT IN THEIR MOTION.

Plaintiff in opposition argued that the County defendants’ motion papers were somehow
defective because they were not accompanied by an any affidavits, see dkt. #37 at POINTS 4-5,
and given his concern, the County defendants will address that issue.

First, as Plaintiff correctly recognized, N.D.N.Y. Local Rule 7.1(b)(2)(a) states that an
affidavit is not required for FRCP Rule 12(b)(6) motions. See dkt. #37 at POINT 4. ‘Thus,

Plaintiff's argument on this issue should be rejected.
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Second, although Plaintiff argues that N.D.N.Y. Local Rule 7.1 somehow requires an
affidavit for a FRCP Rule 12(b)(1) motion to dismiss (see dkt. #37 at POINTS 4-5) , the rules
make no such representation. Instead, in practice, while an affidavit may accompany such motions,
it is not required as these motions test whether the Court even has jurisdiction over the subject
matter of the case, which, necessarily, may be determined with or without affidavits. For example,
subject matter jurisdiction may be raised at any time sua sponte by the Court when it has reason
to believe jurisdiction is lacking, and often times will do so by reviewing the complaint or other
materials. In fact, in this particular case, it is sufficient for the Court to review a 50-h transcript
and a letter from Plaintiff indicating that he was refusing to appear for a 50-h examination as
required by GML 50c as proof of Plaintiffs failure to comply with conditions precedent to
commencing an action against a municipality for claims sounding in tort. Thus, the Court should
not only reject Plaintiffs misinterpretation of the law regarding whether an affidavit is a necessary
component of a FRCP Rule 12(b)(1) motion (see dkt. #37 at POINTS 4-5), it should also dismiss
Plaintiff's state law tort claims pursuant to FRCP Rule 12(b)(1) and GML 50e for lack of subject
matter jurisdiction given his refusal to strictly comply with conditions precedent.

POINT IV

THE COUNTY DEFENDANTS ARE PROTECTED BY
QUALIFIED IMMUNITY.

The County defendants in their original brief set forth the reasons and legal authorities
supporting dismissal on grounds of qualified immunity. See dkt. #28 at POINT IIL. Specifically,
the County defendants submitted two cases that support application of qualified immunity at this
stage of litigation to dispose of COVID-19 mask policy challenges against government officials,
See id. (citing Zinman v. Nova Se. Univ., 2021 U.S. Dist. LEXIS 165341, at *49 (S.D. Fla. Aug.

30, 2021); Case v. Ivey, 2022 U.S. App. LEXIS 18433, at *9 (11th Cir. July 5, 2022)).
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In opposition, Plaintiff declined to address either of these cases or their reasons supporting
application. Thus, in the absence of any reason to refute application of the rationale set forth in
Zinman and Case, this Court should adopt their holdings and apply qualified immunity to the
County defendants in this case.

As for Plaintiffs arguments, in opposition, Plaintiff appears to argue that qualified
immunity should not apply because the County Executive (Picente), Sheriff (Maciol) and deputies
acted outside their scope of authority. Specifically, Plaintiff argued that “County Executive has
no authority to issue temporary health orders,” the “County Sheriff has no authority to require his
subordinates to prevent people from entering public accommodations unless they put on an
emergency use authorized (EUA) medical device,” and “|t]he county deputies have no authority
to require anyone to use medical devices that are only authorized under emergency use.” Dkt. #37
at POINT 7. However, this argument should be rejected on grounds that the Temporary Public
Health Order — which Plaintiff included as Exhibit D to his complaint (see dkt. #7-4) - expressly
sets forth the legal grounds upon which it is authorized to issue the order, and in the absence of
any legal authority successfully challenging that authority, Plaintiffs argument should be rejected.

Plaintiff also appears to argue that the County defendants somehow forfeited their right to
assert a qualified immunity defense because he warned them of all the reasons he believed they
were violating his constitutional rights by requiring that he wear a face mask to enter the school
on the night in question. See dkt. #7 at POINT 8. However, this argument should be rejected for
reasons already thoroughly outlined, including that: 1) the Temporary Public Health Order was
lawfully issued and presumptively constitutional at the time of the incident, and; 2) the County

defendants were under a good faith reasonable belief that they were enforcing a constitutional

policy.
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POINT V
THE COUNTY DEFENDANTS DECLINE TO ADDRESS
ARGUMENTS PERTAINING TO THE WORD
“MANDATE.”
Plaintiff in opposition raises an issue with the word “mandate.” See dkt. #7 at POINT 8.1.
In the County defendants’ view, this argument is irrelevant and docs not require a response.

POINT VI

PLAINTIFF’S CONSTITUTIONAL CLAIMS SHOULD BE
DISMISSED.

In their original motion papers, the County defendants set forth the reasons and legal
authorities supporting dismissal of Plaintiffs constitutional claims. See dkt. #28 at POINT IV.
Given Plaintiffs opposition, the County defendants will address cach claim in turn.

a. Procedural due process claim.

Specifically, with respect to Plaintiffs procedural due process claim, the County
defendants relied on Hopkins Hawley LLC v. Cuomo, 518 F. Supp. 3d 705, 714 (S.D.N.Y. 2021),
for its dismissal of such claims where the law is legislative in nature, applics to everyone, and is
applied prospectively. See dkt. #28 at POINT IV.

In opposition, Plaintiff declined to challenge or refute this argument. See dkt. #37 at POINT
9.1. Instead, Plaintiff attempted to submit argument regarding his right to life, liberty, and
property, and also appeared to submit argument regarding religious freedom and right to medical
autonomy. /d. However, these arguments have been thoroughly rejected by other courts
addressing similar claims (see e.g., Case, 2022 U.S. App. LEXIS 18433), and there is no reason

for this Court to conclude any different.
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b. Substantive Due Process Claim.

In their original brief, the County defendants relied on Zinman, 2021 U.S. Dist. LEXIS
165341, and requested that, for the reasons thoroughly articulated therein, this Court should
dismiss Plaintiff's substantive due process claims as the mask mandates at issue are subject to
rational basis review and clearly are rationally related to a legitimate government interest.

In opposition, Plaintiff appears to argue that Zinman should not apply because here, unlike
in Zinman, this Plaintiff questions whether COVID even exists. See dkt. #37 at POINT 9.2.

In response, the County defendants respectfully submit that Plaintiffs apparent legal
argument lacks any support, and in any event, is insufficient to avoid dismissal for reasons set
forth in Zinman. Accordingly, this claim should be dismissed.

c. Plaintiff’s First Amendment Claims

In their original motion papers, the County defendants sct forth the reasons and Icgal
authorities supporting dismissal of this claim, specifically citing its neutral application and also
the broad rejection (at that time) of any religious freedom challenges to similar policies across the
country. See dkt. #28 at POINT IV.

In opposition, it appears that Plaintiff is attempting to argue that there is no legitimate state
interest for the policy because of his dubious views of the existence of COVID or SARS-CoV-2,
and otherwise argues in conclusory fashion that the policy was not neutrally applied. See dkt. #37
at POINT 9.3.

In response, the County defendants submit that Plaintiffs opposing arguments are legally
insufficient, are unsupported by case law, and fail to rebut the reasons under which they deem
themselves entitled to dismissal. Accordingly, the County defendants rest on their original brief

and respectfully request dismissal of this claim for reasons set forth therein.
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d. State law claims.

The County defendants in their original brief sct forth the reasons and legal authorities
supporting dismissal of Plaintiff's state law tort claims on jurisdictional grounds (pursuant to
FRCP Rule 12(b)(1) and General Municipal Law §§ 50c-i-h), based on his tacit refusal to appear
for a §50-h examination under oath, which is a condition precedent to commencing claims against
a municipality for actions sounding in tort. See dkt. #28 at POINT VI.

In opposition, Plaintiff argued that the lack of an affidavit somchow warrants denial of this
portion of the motion. Dkt. #37 at POINT 10. However, for reasons already articulated above
regarding the lack of any requirement of an affidavit to support dismissal on these grounds,
together with the reasons and legal authorities in their original brief, the County defendants
respectfully submit that dismissal of any and all state claims is required for lack of subject matter
jurisdiction. For these same reasons, the County defendants are entitled to dismissal of Plaintiff's
gross negligence claim that he claims was unaddressed in their original brief (even though it was
addressed as it is lumped in with Plaintiff's “state law claims”). Cf dkt. #37 at POINT 11; dkt. #28

at POINT VI.

POINT VII
IRRLEVANT ALLEGATIONS SHOULD BE STRICKEN.

In their original brief, the County defendants incorporated by reference the argument set
forth by the District defendants and requested that irrelevant facts, legalese, and arguments — too
many to list but quite apparent from a review of the complaint — should be stricken and/or
disregarded. See dkt. # In opposition, Plaintiff declined to address this point, and therefore, to the
extent it may be necessary (i.e., only if any claims against the County defendants survive), then

Plaintiff should be required to submit an amended complaint with irrelevant allegations removed.
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CONCLUSION
For the reasons and legal authorities set forth herein, the County defendants respectfully
request an Order pursuant to Rule 12(b)(1)-(6) of the Federal Rules of Civil Procedure dismissing
Plaintiffs Complaint, with prejudice, for lack of subject matter jurisdiction over the state law
claims, and for the federal law claims, failure to state a claim upon which relief can be granted;

and for any other relief the Court deems just and proper.

DATED: January 30, 2023 KENNEY SHELTON LIPTAK NOWAK LLP

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